
The Supreme Court affirmed the judgment of the Commoii Pleas on February 9th, 1885, in the following opinion:
Per Curiam.
While the case stated shows an irregularity in the entry of-the judgment against the Krusens, yet it was not void. No‘step was taken by the writ of error or otherwise to revise it. and it stands unappealed from and unreversed. The subse-1 cpient proceedings thereon, including the sale by the Sheriff, were all regular. Under the Act of-, 17o5&gt; Section 9; 1 Sm. L. 61. The sale of lands made on execution,, although the judgment be afterwards reversed, is not invalidated. Nor can a judgment, although irregular, be impeached in a collateral proceeding. There was no error in entering judgment in favor of the plaintiff below.
Judgment affirmed.
